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            IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF NEW YORK
____________________________________

ASBESTOS WORKERS SYRACUSE
PENSION FUND, by Thomas Davitt, III
and Charlie Buskee, as Trustees,

                        Plaintiff,
                                                 Civ. Action No.
                                                 5:04-CV-825 (GLS/DEP)
      vs.

DELORES A. WELLS

                  Defendant.
____________________________________

APPEARANCES:                         OF COUNSEL:

FOR PLAINTIFF:

BLITMAN, KING LAW FIRM        DANIEL R. BRICE, ESQ.
Franklin Center
443 North Franklin Street
Suite 300
Syracuse, New York 13204-1415

FOR DEFENDANT:

[NONE]

DAVID E. PEEBLES
U.S. MAGISTRATE JUDGE

                                     ORDER

      The court was advised on December 7, 2004 by Daniel R. Brice,

Esq., counsel for the plaintiff in this action, that defendant Delores A.
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Wells has filed a voluntary petition in the United States Bankruptcy Court

for the Northern District of New York. This action is therefore

automatically stayed as a result of the filing of that petition, pursuant to 11

U.S.C. § 362.

      Accordingly, it is hereby ORDERED as follows:

      1)    This action is stayed until such time as the automatic stay in

bankruptcy is lifted, either through completion of the bankruptcy

proceeding or order of the bankruptcy court granting relief from the stay.

      2)    On or before July 1, 2005 plaintiff’s counsel in this action shall

advise this court of the status of the defendant’s bankruptcy proceeding

and the status of any claim on behalf of the plaintiff in this matter brought

in conjunction with that bankruptcy proceeding.

      3)    The clerk is directed to promptly forward copies of this order to

counsel for the parties electronically.




Dated:      December 13, 2004
            Syracuse, New York




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